          Case 2:17-cr-00101-WFN          ECF No. 740        filed 03/15/18       PageID.2785 Page 1 of 1
O PS 8
(3/15)                                                                                                   FILED IN THE
                                                                                                     U.S. DISTRICT COURT

                              UNITED STATES DISTRICT COURT                                     EASTERN DISTRICT OF WASHINGTON




                                                           for
                                                                                                Mar 15, 2018
                                                                                                    SEAN F. MCAVOY, CLERK

                                           Eastern District of Washington

U.S.A. vs.                 Ramos-Perez, Federico                       Docket No.         0980 2:17CR00101-WFN-5

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Federico Ramos-Perez, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers sitting in the court at Spokane, Washington, on the 19th day of June 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Modified Condition: Abstain from any use of alcohol.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #3, 4: The defendant consumed marijuana and alcohol on or about March 1, 2018.

Violation #5: On March 12, 2018, the defendant admitted to ingesting cocaine on a daily basis through September 2017.

         PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                              PREVIOUSLY REPORTED TO THE COURT
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       March 14, 2018
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[X ] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
                                                                           Signature of Judicial Officer

                                                                              March 15, 2018
                                                                           Date
